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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1334V
                                    Filed: February 22, 2016
                                           Unpublished

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SHARYN SYNNESTVEDT,                       *
                                          *
                     Petitioner,          *      Ruling on Entitlement; Damages
                                          *      Decision Based on Proffer;
                                          *      Concession; Influenza (“Flu”)
SECRETARY OF HEALTH                       *      Vaccination; Shoulder Injury Related
AND HUMAN SERVICES,                       *      to Vaccine Administration (“SIRVA”);
                                          *      Special Processing Unit (“SPU”)
                     Respondent.          *
                                          *
****************************
Maximillian Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Traci Patton, U.S. Department of Justice, Washington, DC, for respondent.

         RULING ON ENTITLEMENT AND DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

       On November 6, 2015, Sharyn Synnestvedt (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act” or “Program”). Petitioner alleges that the
influenza [“flu”] vaccination that she received on October 20, 2014, caused her to suffer
shoulder injuries. Petition at 1. The case was assigned to the Special Processing Unit
(“SPU”) of the Office of Special Masters.

        On February 19, 2016, respondent filed a Rule 4(c) Report and Proffer on
Damages in which she concedes that petitioner is entitled to compensation in this case.
Rule 4(c) Report and Proffer on Damages at 1. Specifically, respondent “concluded that
petitioner’s alleged injury is consistent with shoulder injury related to vaccine
administration (“SIRVA”), and that it was caused in fact by the flu vaccine she received
on or about October 20, 2014.” Id. at 3. Further, respondent “did not identify any other

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)(Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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causes for petitioner’s SIRVA, and the records show that she suffered the sequela of
her injury for more than six months.” Id. Thus, “based on the record as it now stands,
petitioner has satisfied all legal prerequisites for compensation under the Act”. Id. at 4.

        Additionally, “[b]ased upon the evidence of record, respondent proffers that
petitioner should be awarded $85,221.00, which represents all elements of
compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a).”
Rule 4(c) Report and Proffer on Damages at 4. Respondent represents that petitioner
agrees with the proffered award. Id.

      In view of respondent’s concession and the evidence in the record, the
undersigned finds that petitioner is entitled to compensation. Further, based on
the record as a whole, the undersigned finds that petitioner is entitled to an award
as stated in Respondent’s Rule 4(c) Report and Proffer on Damages.

       Pursuant to the terms stated in Respondent’s Rule 4(c) Report and Proffer on
Damages, the undersigned awards petitioner a lump sum payment of $85,221.00
in the form of a check payable to petitioner, Sharyn Synnestvedt. 3 This amount
represents compensation for all damages that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 4

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3“Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court for
appropriate relief. In particular, respondent would oppose any award for future medical expenses, future
pain and suffering, and future lost wages.” Rule 4(c) Report and Proffer on Damages at 4, fn. 1.

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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